         Case 5:19-cv-00601-DAE Document 23 Filed 08/24/20 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS

MALIBU MEDIA, LLC,                              )
                                                )
       Plaintiff,                               )    Civil Action Case No. 5:19-cv-00601-DAE
                                                )
v.                                              )
                                                )
[Redacted],                                     )
                                                )
                                                )
       Defendant.                               )
                                                )

                        PLAINTIFF’S NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE, Plaintiff, Malibu Media, LLC, has settled this matter with

Defendant, [Redacted], (“Defendant”) through his counsel. Upon satisfaction of the terms of the

parties’ settlement agreement, to which Defendant still has executor obligations, Plaintiff will

dismiss Defendant from this action with prejudice.

       Dated: August 24, 2020

                                                     Respectfully submitted,

                                                     By: /s/ Paul S. Beik
                                                     PAUL S. BEIK
                                                     Texas Bar No. 24054444
                                                     BEIK LAW FIRM, PLLC
                                                     8100 Washington Ave., Suite 1000
                                                     Houston, TX 77007
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                                                     ATTORNEY FOR PLAINTIFF




                                               1
         Case 5:19-cv-00601-DAE Document 23 Filed 08/24/20 Page 2 of 2




                               CERTIFICATE OF SERVICE

        I hereby certify that, on August 24, 2020, I electronically filed the foregoing document
with the Clerk of the Court using CM/ECF and that service was perfected on all counsel of record
and interested parties through this system.

                                                   By: /s/ Paul S. Beik
                                                      PAUL S. BEIK




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